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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                         Off ICE Cl" THE CLERl~
                                                                       4:22CR3154
                       Plaintiff,
                                                                      SEALED
       vs.
                                                                   INDICTMENT
SCOTT A. BERNDT; LOUISE GINA
POLYANSKY;REBECCA                                            21 U.S.C. § 84l(a)(l), (b)(l)
FRANKENSTEIN,                                                      21 u.s.c. § 846
                                                                   21 u.s.c. § 851
                       Defendants.


       The Grand Jury charges that

                                            COUNT!

       Beginning on or about November 1, 2020, and continuing to on or about December 18,

2021, in the District of Nebraska, Defendants SCOTT A. BERNDT, LOUISE GINA

POLYANSKY, and REBECCA FRANKENSTEIN did knowingly and intentionally combine,

conspire, confederate, and agree together and with other persons to distribute and possess with

intent to distribute 500 grams or more of a mixture or substance containing a detectable amount

of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 84l(a)(l) and 841(b)(l).

       Before Defendant SCOTT A. BERNDT committed the offense charged in this count, he

had a final conviction for a serious violent felony, namely, a conviction under Robbery in

violation of Nebraska Revised Statutes§ 28-324 in the District Court for Lancaster County,

Nebraska (Case No. 88-260), for which he served more than 12 months of imprisonment.
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                                                                                   SEALED
       In violation of Title 21, United States Code, Section 846 and Title 21, United States

Code, 851.




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                                                    FOREPERSON



       The United States of America requests that trial of this case be held in Lincoln, Nebraska,
pursuant to the rules of this Court.




                                                    J0 HN J. SCHOETTLE, #IL6321461
                                                    Assistant U.S. Attorney




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